                 3:20-cv-04135-MGL                Date Filed 12/30/20         Entry Number 11            Page 1 of 1

AO 450 (SCD 04/2010) Judgment in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District of South Carolina


                      Diontre J. Brown
                                                                       )
                            Plaintiff
                                                                       )
                           v.                                                Civil Action No.       3:20-cv-4135-MGL
                                                                       )
           John P. Meadors, Solicitor for the
                                                                       )
                   Third Judicial Circuit
                           Defendant
                                                                       )

                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                   recover from the defendant (name)              the amount of                dollars ($   ),
which includes prejudgment interest at the rate of            %, plus postjudgment interest at the rate of           %, along with
costs.
’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)                            .
 other: This case is dismissed without prejudice and without issuance and service of process.


This action was (check one):
’ tried by a jury, the Honorable                            presiding, and the jury has rendered a verdict.

’ tried by the Honorable                          presiding, without a jury and the above decision was reached.

 decided by the Honorable Mary Geiger Lewis, United States District Judge who adopts the Report and
Recommendation of the Honorable Shiva V. Hodges, United States Magistrate Judge.

                                                                           ROBIN L. BLUME
Date: December 30, 2020                                                    CLERK OF COURT


                                                                                     s/Debbie Stokes
                                                                                         Signature of Clerk or Deputy Clerk
